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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH

  APPLIED PREDICTIVE TECHNOLOGIES,                 )
  INC.,                                            )
                                                   )
                        Plaintiff,                 )
                                                   )
                 v.                                ) Case No. 2:2019-cv-00496-JNP-CMR
                                                   )
  MARKETDIAL, INC. and JOHN M.                     ) Judge: Jill N. Parrish
  STODDARD,                                        )
                                                   ) JURY TRIAL DEMANDED
                        Defendants.                )

                               SECOND AMENDED COMPLAINT


         Plaintiff Applied Predictive Technologies, Inc. (“Plaintiff” or “APT”) brings this

  complaint against defendants MarketDial, Inc. (“MarketDial”) and John M. Stoddard a/k/a

  Johnny Stoddard (“Stoddard”), or collectively (“Defendants”), for patent infringement,

  misappropriation of trade secrets, and unfair competition.

                                     NATURE OF THE ACTION

         1.      This is a civil action for patent infringement under the patent laws of the United

  States, 35 U.S.C. § 1 et seq.; misappropriation of trade secrets under the Defend Trade Secrets

  Act (“DTSA”), 18 U.S.C. § 1836, et seq.; misappropriation of trade secrets under the Utah

  Uniform Trade Secrets Act (“UUTSA”), Title 13, Chapter 24 of the Utah Code (Utah Code Ann.

  § 13-24-1, et seq.); and unfair competition under the Utah Unfair Competition Act, Title 13,

  Chapter 5a of the Utah Code (Utah Code Ann. § 13-5a-101, et seq.).

         2.      Defendants MarketDial and Stoddard have engaged in a systematic effort to

  acquire valuable confidential and trade secret information from APT and improperly use it for

  their own advantage. Both of MarketDial’s founders, Stoddard and Morgan Davis (“Davis”),

  previously worked for companies that had contractual working relationships with APT, which
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  were governed by confidentiality agreements that bound all employees, including Stoddard and

  Davis. Stoddard and Davis both had potential access to APT’s confidential and trade secret

  information, and were both required to maintain the confidentiality of that information and not to

  use it for any other purpose.

         3.      Specifically, Stoddard worked at McKinsey & Company, Inc. (“McKinsey”)

  approximately from August 2013 to April 2016. McKinsey entered into a Cooperation and

  Confidentiality Agreement dated November 7, 2013 (“Confidentiality Agreement”) with APT by

  which APT agreed to provide access to APT confidential information in connection with

  McKinsey’s client development and/or client services as well as each party’s internal

  consideration of a potential transaction with other parties. McKinsey agreed that it and its

  employees would use APT confidential information only for the purposes of the Confidentiality

  Agreement, and to keep confidential and not disclose such information to anyone other than

  McKinsey employees with a need to know who were bound by the Confidentiality Agreement.

  Stoddard was aware of and agreed to be bound by the terms of the Confidentiality Agreement.

  Stoddard used his status as an employee of McKinsey, subject to the same confidentiality

  obligations to APT as McKinsey, to gain access to APT’s confidential and trade secrets

  information.

         4.      During 2015, Stoddard received APT’s confidential and trade secrets information

  while employed by McKinsey and under confidentiality obligations to both McKinsey and APT.

  While Stoddard was receiving APT’s confidential and trade secrets information on behalf of

  McKinsey to benefit APT, Stoddard surreptitiously co-founded MarketDial, a Delaware

  corporation, to compete with APT. Stoddard has prominently promoted his status as Co-Founder

  of MarketDial and role in founding the company. Stoddard’s LinkedIn page (available at




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  https://www.linkedin.com/in/johnny-stoddard-1382bb34); Stoddard’s Facebook page (available

  at https://www.facebook.com/johnny.stoddard). Through his employment with McKinsey and

  after the founding of MarketDial, Stoddard continued to request and receive APT’s trade secret

  information, including relating to its software, business strategies, and customers, described in

  more detail below. Since the filing of the original Complaint in this action, Plaintiff APT has

  obtained additional information regarding Stoddard’s activities and the locus of those activities

  while obtaining APT’s trade secrets, working with Davis to form a new business to compete with

  APT using APT’s trade secrets, and working with MarketDial to develop a software product and

  services to compete with APT using APT’s trade secrets and patented technology. During 2015,

  the time period during which Stoddard was obtaining APT’s trade secrets, Stoddard resided in

  North Ridgeville, Ohio (near Cleveland), Eagle Mountain, UT (near Salt Lake City), and Penryn,

  CA (near Sacramento). Stoddard purported to need access to APT’s confidential and trade secret

  information in connection with joint marketing efforts of McKinsey and APT, purportedly for

  the benefit of APT, but in reality for his own personal benefit and that of MarketDial, the

  Delaware company he admittedly co-founded. Without disclosing his interest in MarketDial,

  Stoddard learned key aspects of how APT’s proprietary software operates and repeatedly

  requested and received confidential and trade secret information from APT, all under the guise of

  benefitting the APT and McKinsey relationship.

         5.      Stoddard duped APT into providing its confidential information and trade secrets

  to benefit him personally and his newly-formed company, MarketDial, and used MarketDial, a

  Delaware corporation, to carry out his scheme to misappropriate APT’s trade secrets. Upon

  information and belief, Stoddard intentionally misappropriated APT confidential information and

  trade secrets in violation of McKinsey’s Confidentiality Agreement with APT and federal and




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  state law. Stoddard began discussions with Davis about starting a new business venture together

  in January 2015, while they were both employed by others. Stoddard and Davis continued those

  discussions, including discussions in the Fall of 2015, after Stoddard obtained APT’s trade

  secrets, focusing on creating a company that would directly compete with APT. Those

  communications were conducted by email and phone calls directed to Davis in Utah and

  included meetings with Davis in person in Utah. Consistent with those discussions, MarketDial

  was formed in 2015 with offices in Utah and its only business activity in Utah. After active

  discussions in 2015 and early 2016 with Davis about co-founding MarketDial, Stoddard formally

  joined MarketDial in spring 2016. Stoddard contends that his work with Davis after Stoddard

  formally joined MarketDial in Utah were the company’s first substantive operations. When

  Stoddard joined MarketDial in spring 2016, he moved permanently to Lehi, Utah, where he now

  resides. MarketDial’s and Stoddard’s misappropriation of APT’s trade secrets has included their

  ongoing activities in Utah from Spring 2016 through the present. MarketDial and Stoddard used

  a Delaware corporation to carry out the trade secret misappropriation, and APT’s injury as a

  Delaware corporation with Delaware clients has a connection to Delaware sufficient to support

  personal jurisdiction in Delaware, but it appears that the locus of Defendants’ misappropriation

  activity to date is in Utah.

          6.      Upon information and belief, Stoddard and MarketDial have incorporated key

  features of the functionality of APT’s products and services into MarketDial’s products and

  services. Stoddard and Davis founded MarketDial specifically to compete against APT, have

  used APT’s trade secrets to compete with APT, and have approached APT clients in an effort to

  siphon them off. In at least two instances, MarketDial has stolen business from APT, causing

  APT to suffer substantial damages. Those efforts of MarketDial and Stoddard during 2015




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  through the present have occurred in, and have been directed from, Utah, where MarketDial is

  headquartered, where all of its employees are located, and where Stoddard resides.

          7.      In addition, MarketDial has infringed and continues to infringe one or more

  claims of APT’s U.S. Patent No. 8,571,916 (“the ’916 Patent”) at least by making, using, selling,

  and/or offering to sell its MarketDial System (the “Accused System”) in the United States,

  including in this District.

          8.      By letter dated December 18, 2017, APT contacted MarketDial and Stoddard in

  an attempt to explore with MarketDial and Stoddard the concerns APT had about their use of

  APT trade secrets and infringement of APT’s patents, seeking more information about the

  methodology of MarketDial’s software, and requesting a meaningful discussion of these issues,

  all in an effort to avoid a legal dispute. In response, MarketDial admitted by letter that it

  competes in the same space as APT and for some of the same customers, but MarketDial

  nevertheless refused to meet with APT, pursue any discussions, or provide APT with any

  information about the methodology of its software. MarketDial also denied that Stoddard was

  ever privy to APT’s confidential and trade secret information, despite clear evidence to the

  contrary. MarketDial further denied that it uses APT’s patented technology. Based upon APT’s

  investigation, and despite the refusal of MarketDial and Stoddard to cooperate in the requested

  discussions, APT determined that MarketDial and Stoddard were using APT’s trade secret

  information disclosed to Stoddard subject to strict confidentiality obligations and that the

  Accused Systems infringe one or more claims of the ’916 Patent. As a result, APT now seeks

  relief from this Court to enjoin Defendants from using APT’s confidential and trade secret

  information and from infringing the ’916 Patent. APT further seeks an award of damages for the




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  injury it has incurred as a result of Defendants’ trade secret misappropriation and willful

  infringement of APT’s patent.

                                           THE PARTIES

         9.      Plaintiff APT is a corporation, organized and existing under the laws of the State

  of Delaware, with its principal place of business at 4250 N. Fairfax Drive, 11th Floor, Arlington,

  Virginia 22203.

         10.     Defendant MarketDial is a corporation, organized and existing under the laws of

  the State of Delaware, with its headquarters and principal place of business in Utah. Since its

  creation in 2015, MarketDial has had places of business at 12 W. Market Street, Suite 220, Salt

  Lake City, Utah 84102 and 175 S Main St Floor 16, Salt Lake City, UT 84111.

         11.     Defendant Stoddard is a founder of MarketDial, serves as an officer and director

  of MarketDial, and, during his misappropriation of APT’s trade secrets while working at

  McKinsey, resided in Utah, Ohio and/or California. After misappropriating APT’s trade secrets

  and leaving McKinsey, Stoddard moved to Utah and, upon information and belief, now resides at

  4151 N. Traverse Mountain Blvd, Apartment 13301, Lehi, Utah 84043.

         12.     Upon information and belief, MarketDial directly and/or indirectly develops,

  designs, manufactures, distributes, markets, offers to sell, and/or sells the Accused System in the

  United States, including in and from the District of Utah.

                                  JURISDICTION AND VENUE

         13.     This is a civil action for patent infringement under the patent laws of the United

  States, 35 U.S.C. § 1 et seq.; misappropriation of trade secrets under the DTSA, 18 U.S.C. §

  1836, et seq.; misappropriation of trade secrets under the UUTSA, Utah Code Ann. § 13-24-1, et

  seq.; and unfair competition under the Utah Unfair Competition Act, Utah Code Ann. § 13-5a-

  101, et seq.


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          14.     This Court has original subject matter jurisdiction over APT’s claims for patent

  infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a) and 35 U.S.C. §§ 271 et seq. This

  Court has subject matter jurisdiction over APT’s federal trade secret claim pursuant to 18 U.S.C.

  § 1836(c) and 28 U.S.C. § 1331 because Plaintiff has asserted a claim for misappropriation of

  trade secrets under the Defend Trade Secrets Act of 2016. This Court has supplemental

  jurisdiction over APT’s claims under the Utah Uniform Trade Secrets Act and Utah Unfair

  Competition Act pursuant to 28 U.S.C. § 1367 because this claim is so related to Plaintiff’s

  patent infringement claim and federal misappropriation of trade secrets claim that it forms part of

  the same case or controversy under Article III of the United States Constitution.

          15.     This Court has personal jurisdiction over MarketDial because it is has a regular

  and established place of business in this District and therefore resides in this District.

          16.     This Court has personal jurisdiction over Stoddard because he resides in this

  District.

          17.     Venue is proper in this judicial district for APT’s claims for patent infringement

  pursuant to 28 U.S.C. §§ 1391(c) and 1400(b). MarketDial has a regular and established place of

  business in Utah and therefore resides in this judicial district pursuant to 28 U.S.C. § 1400(b).

          18.     Venue is proper in this judicial district for APT’s federal trade secret

  misappropriation claim under 28 U.S.C. § 1391(b)(2) and claim under the Utah Uniform Trade

  Secrets Act because a substantial part of the events giving rise to the claim occurred in the State

  of Utah and in this judicial district.

                                                 FACTS

                             APT’s Innovation and Industry Recognition

          19.     APT, founded in 1999, is a global leader in the business analytics software

  industry, and helps businesses make decisions based on analysis of their customers’ actions using


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  innovative tools developed by APT at great expense over many years. APT services customers

  in a variety of industries, including retail, restaurants, financial services, consumer packaged

  goods, airlines, automotive, hotels, insurance, life sciences, healthcare, and telecommunications

  and media. APT’s software includes the Test & Learn® software system. APT’s publicly-known

  customers include Walmart, Coca-Cola, McDonald’s, TD Bank, Starbucks, SunTrust, Big Lots,

  Victoria’s Secret, T-Mobile, and Kellogg’s. However, APT also has multiple confidential

  customers as well.

         20.     Through its substantial investment in research and development over the past 19

  years, APT has developed innovative, cutting-edge technologies that changed the face of data-

  driven analytics and resulted in APT’s customers making data-driven decisions using APT’s

  proprietary software. As such, sensitive, confidential, and proprietary information and trade

  secrets form the backbone of APT’s success in its business.

         21.     APT has devoted a great deal of time and expense to developing trade secrets,

  including its proprietary and confidential technical information, knowledge, and business

  strategy. Since its inception in 1999 and through the filing of this Complaint, APT has

  developed the trade secret information, which gives it an advantage in business over its

  competitors. As indicated by its success, APT has developed and acquired proprietary

  information and knowledge in relation to its Test & Learn® software system, including not only

  in its technical and performance specifications, but also in the business plans and business

  strategies surrounding its systems and APT’s customers. These confidential aspects of the Test

  & Learn® software system are not disclosed or patented in any patent application filed by APT,

  including, but not limited to the ’916 Patent.




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          22.       APT’s products and services, including the Test & Learn® software system,

  enable customers to test the efficacy of a business initiative, e.g., a sales promotion, a retention

  program, or a customer loyalty offer. Through technologically refined setup of business

  initiative tests and detailed statistical analysis of the actual and predicted results of the business

  initiative test, APT is able to determine for the customer the business initiative’s true impact and

  recommend the most profitable action for the customer to take.

          23.       APT has won numerous awards for its technological achievements, including:

                •   2014 International Business Awards (“IBA”) Gold Stevie Winner for Best New

                    Product or Service of the Year - Software - Big Data Solutions for the APT Index;

                •   2014 IBA Bronze Stevie Winner for Most Innovative Company of the Year in

                    Canada and the U.S.A. - All Technology Industries;

                •   2014 Business Intelligence (“BIG”) Award for New Product of the Year for the

                    APT Index;

                •   2015 BIG Award for New Product of the Year in the IT/Telecom Category for its

                    Space Planning Optimizer Software;

                •   2015 IBA Silver Stevie Winner for Best New Product of Service of the Year -

                    Software - Big Data Solutions for its Space Planning Optimizer Software;

                •   2016 Bronze American Business Award for Network Planner with MasterCard

                    Insights software; and

                •   2016 BIG Award for New Product of the Year.

                                             The Patent-in-Suit

          24.       On March 1, 2006, APT filed U.S. Patent Application No. 11/364,197 (“the ’197

  Application”), which was a continuation-in-part application of U.S. Patent Application No.



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 10/767,191, filed on January 30, 2004. The ’197 Application duly and legally issued as the ’916

 Patent on October 29, 2013. The ’916 Patent is entitled “Methods, Systems, and Articles of

 Manufacture for Determining Optimal Parameter Settings for Business Initiative Testing

 Models.”

         25.     APT is the owner by assignment of all right, title, and interest in and to the ’916

 Patent. A copy of the ’916 Patent is attached to the Complaint as Exhibit A.

         26.     The ’916 Patent is valid and enforceable under United States Patent Laws.

         27.     The ’916 Patent claims a technological solution to the critical problem of

 determining the optimal system parameters for a business initiative test, including by performing

 virtual tests on a set of virtual test sites using a parameter setting set of selected parameter setting

 options and determining the inconsistency between the performance data associated with the

 virtual test sites and the performance data associated with a set of control group sites. By

 modifying the selected parameter settings and performing a virtual test, the optimal system

 parameters can be more quickly and efficiently ascertained by determining which selected

 parameter settings best minimize the inconsistency between the performance data associated

 with the virtual test sites and the performance data associated with a set of control group sites.

         28.     The claimed inventions of the ’916 Patent were not well-known, routine, or

 conventional at the time of the invention, over twelve years ago, and represent specific

 improvements over the prior art and prior existing systems and methods.

         29.     Although the ’916 Patent describes an embodiment where the claimed invention

 is used by retailers to test a new business initiative, the claimed invention is a technical solution

 aimed at solving a “big data” problem of recognizing and filtering inconsistent data. The ’916

 Patent identifies this problem:




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         As a result, retailers may not recognize and filter inconsistent data, and therefore be less
         able to measure the impact of their initiatives. Accordingly, there is a need for a system
         and method that automatically identifies one or more analytical parameters that filter out
         the most inconsistent data to maximize a retailer's ability to analyze the results of an
         initiative test. Using more consistent data allows retailers to better identify those
         initiatives to extend to certain locations that will provide the most anticipated profit gains.

 ’916 Patent, 2:1-10. The claimed invention solves this problem by automatically identifying

 parameters that filter inconsistent data.

         30.     For example, the ’916 Patent claims, inter alia, methods and systems for

 determining optimal system parameter settings for data analysis systems, including embodiments

 in business initiative testing software. The technical problems solved by the ’916 Patent include,

 inter alia, isolating the impact of a business initiative and recognizing and filtering out the most

 inconsistent data to maximize a retailer’s ability to analyze the results of a business initiative test.

         31.     The specification of the ’916 Patent recites a technical solution to these technical

 problems that is reflected in the claims of the ’916 Patent:

         Certain aspects of the present invention enable server 130 to identify and set those
         model parameters that will best filter out noise associated with date related to the
         stores where the initiative was applied in order to produce more accurate results
         regarding the impact of the initiative. Noise may be a quantified measurement of
         inconsistent performance data for sites used in the analysis performed by the
         model. Aspects of the present invention create a simulation environment where
         the model performs a number of virtual initiative tests (e.g., initiative tests that
         have not actually been implemented in a business location) using different
         parameters. Based on the results of the virtual tests, server 130 may identify
         parameter settings that best filter noise from the results. Those parameter settings
         are then automatically selected for a particular test type as default settings that are
         subsequently used in performing actual initiative tests for predicting the
         performance of selected business locations based on the proposed initiative.

 ’916 Patent, 17:33-49.

         32.     As noted in the prosecution history, each of the systems, apparatuses, software

 products, and methods that preceded the priority of the ’916 Patent is inferior, because each

 suffered from several shortcomings, including that the prior art systems did not efficiently



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 determine the optimal parameters for business initiative testing software. As noted during the

 prosecution of the ’916 Patent, the prior art systems do not teach the elements of determining

 parameter settings for business initiative testing; performing a virtual test on a set of virtual test

 sites; and measuring noise from these virtual tests to determine the optimal parameter settings,

 whereby the optimal parameter settings best filter noise from the results. And it is, inter alia,

 this combination of elements that provides a specific technical solution to the technical problem

 of determining optimal parameters for business initiative testing software.

         33.     The Abstract of the ’916 Patent states the following:

         A system, method, and article of manufacture is disclosed for determining optimal
         parameter settings for a business initiative testing model used for testing
         initiatives for business locations included in a business network. In one aspect, a
         method is disclosed that includes defining a first test type of a business initiative
         testing model having a set of parameter settings. Each parameter setting may
         include a set of one or more parameter setting options. The method may also
         include performing virtual tests on a set of virtual test sites based on the defined
         test type. Each virtual test site may reflect a selected business location in the
         business network. Also, the method may include determining a set of optimal
         parameter settings for the first test type of the business initiative testing model
         based on results from the virtual test. Moreover, the method may include
         configuring the business initiative testing model using the optimal parameter
         settings from the set for the first test type to test a business initiative to apply to
         the business network.

         34.     Among other things claimed, the ’916 Patent provides a method and system for

 determining optimal parameter settings for business initiative testing software used for testing

 business initiatives. In some embodiments of the ’916 Patent inventions, a server may collect

 historical performance data associated with performance metrics, such as sales information, foot

 traffic, etc. In some embodiments, the server may also define a test type that is associated with

 the business initiative testing model having a set of parameter settings. A test type may be a type

 of business initiative testing model that the server executes when running actual initiative tests to

 predict the performance of certain test sites. For example, a test type may be defined based on a



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 particular characteristic of the initiative test, such as the length of a test period for the initiative

 test, etc. In some embodiments, once the test type is defined, the server may perform a virtual

 test on the defined test type. A virtual test reflects a mock initiative test that is performed on a

 selected number of test sites based on defined configuration settings for the model executed by

 the server. The virtual test is considered a mock initiative test because no actual initiative test is

 planned or has been implemented in any virtual test sites (e.g., business locations identified for

 purposes of the virtual test). In this regard, the server creates a simulation environment for

 running virtual initiative tests for collecting information used for identifying the optimal default

 model parameters settings for the defined test type. Performing a virtual test may include

 configuring the virtual test such that the server iteratively performs a business initiative test for

 selected virtual test sites for each of a certain number of model parameter settings. Each model

 parameter setting may include one or more parameter setting options. Thus, for each iteration,

 the server may determine a noise value for each combination of available parameter settings and

 options and stores the values in a memory device for subsequent processing.

         35.     In some embodiments, the server may compare the noise values for each

 parameter setting combination to determine the parameter settings for the defined test type. In

 some embodiments, the server may determine the parameter settings by identifying a parameter

 setting combination that produced the least amount of noise during the virtual test. The server

 may identify this optimal parameter setting combination as a set of parameters settings that are to

 be used to configure the defined test type when executed for performing actual initiative tests to

 predict the performance of selected test sites.

         36.     These and other improvements over the prior art represent meaningful limitations

 and/or inventive concepts based upon the state of the art over a decade ago. Thus, the invention




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 described and claimed in the ’916 Patent provides meaningful limitations and/or inventive

 concepts and does not claim an abstract idea.

        37.     The claimed inventions achieve many benefits over prior art systems and

 methods, including the benefits noted above. Further, in view of these specific improvements

 over a decade ago, the inventions of the asserted claims, when such claims are viewed as a whole

 and in ordered combination, are not routine, well-understood, conventional, generic, existing,

 commonly used, well-known, previously known, typical, and the like, including because, until

 the inventions of the ’916 Patent, the claimed inventions were not existing or even considered in

 the field. The claimed inventions in the ’916 Patent provide a technical solution to the “big data”

 problem of recognizing and filtering inconsistent data and are a substantial technological

 improvement over prior systems that can be applied generally to software, including specific

 embodiments such as business initiative testing software.

        38.     The inventions of the asserted claims are necessarily rooted in computer

 technology, i.e., recognizing and filtering inconsistent data, including in business initiative

 testing software, and comprise improvements over prior technologies in order to overcome the

 problems, including those shortcomings noted above. The claimed solutions amount to an

 inventive concept for resolving the particular problems and inefficiencies noted above.

        39.     The inventions of the asserted claims could not have been performed by a human,

 but must instead be performed by a complex computer program, in part due to the required size

 of the data. For example, performing a virtual test on the efficacy of a business initiative testing

 software parameters for a single set of parameter settings would be an incredibly time-

 consuming process, and not one that could be performed by a human with pen and paper. Even

 for a selected pre-period of one month, this could not be performed by a human. ’916 Patent,




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 9:43-60. In one example described in the ’916 Patent, the virtual test is repeated for each

 combination of parameter settings. In an exemplary set of parameters including four parameter

 settings, and each parameter setting having four respective parameter setting options, this would

 result in 256 possible parameter setting combinations available for the model to test. ’916

 Patent, 20:2-8. In a further example, the server may select 50 virtual test sites from an available

 pool of 1000 sites in a business network. ’916 Patent, 20:26-28. Assuming a one-month test

 period, this would result in the analysis by virtual test of 12,800 months’ worth of performance

 data. Such an analysis cannot be performed by a human. These are “big data” problems that

 require the technical solutions offered in the ’916 Patent. The asserted claims are thus

 necessarily rooted in computer technology.

        40.     Including as noted above, the claims recite inventions that were not merely a

 routine or conventional use of conventional devices and technologies. The inventions of the

 asserted claims were not well-known, fundamental economic or conventional business practices,

 nor were they practices to which general-purpose computer components were added after the

 fact. Nor were the specifically disclosed and claimed combination of devices, steps, and

 processes existing in the art prior to the invention of the ’916 Patent.

        41.       The claims of the ’916 Patent do not improperly inhibit further discovery by

 tying up any building blocks of human ingenuity or technological work. One is free to practice

 the prior art of record and the prior art referenced in the specification.

        42.     The ’916 Patent has been cited as prior art in seven other patents and patent

 applications, including U.S. Patent No. 9,641,411 assigned to Google Inc.

        43.     The combination of the elements of the asserted claims of the ’916 Patent do not

 represent well-understood, routine, or conventional activity.




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         44.     Claim 1 of the ’916 Patent recites:

                 A method for determining optimal parameter settings for business initiative
                 testing software used for testing initiatives for business locations included in a
                 business network, comprising:
                         identifying, by a computer, a business initiative testing model having a set
                                 of parameter settings;
                         selecting a first parameter setting set for performing a virtual test, the first
                                 parameter setting set including a set of selected parameter setting
                                 options each respectively corresponding to one of the parameter
                                 settings for the business initiative testing model;
                         performing, by a computer, the virtual test on a set of virtual test sites,
                                 each virtual test site reflecting a selected business location in the
                                 business network, wherein each virtual test is a simulated business
                                 initiative test performed on test sites where no actual initiative test
                                 has been implemented at those test sites, and wherein the virtual
                                 test is performed on the virtual test sites using a variation of each
                                 parameter setting;
                         determining, by a computer, actual performance data associated with the
                                 set of virtual test sites;
                         determining, by a computer, actual performance data associated with a set
                                 of control group sites reflecting second selected business locations
                                 in the business network using the tested parameter settings;
                         determining a noise value for the first parameter setting set, the noise
                                 value reflecting an inconsistency between performance data
                                 associated, with the set of virtual test sites and performance data
                                 associated with the set of control group sites reflecting second
                                 selected business locations in the business network using the tested
                                 parameter settings;
                         determining, by a computer, a set of optimal parameter settings for the
                                 business initiative testing model based on results from the virtual
                                 test whereby the optimal parameter settings best minimize noise
                                 from the results; and
                         configuring, by a computer, the business initiative testing model using the
                                 optimal parameter settings to test a business initiative for
                                 application in the business network.

         45.     The ordered combination of Claim 1 of at least selecting a first parameter setting

 set for performing a virtual test, performing the virtual test on a set of virtual test sites,

 determining a noise value for the first parameter setting set, and determining, by a computer, a

 set of optimal parameter settings for the business initiative testing model based on results from




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 the virtual test whereby the optimal parameter settings best minimize noise from the results was

 novel and innovative over prior technology at the time of the priority date of the ’916 Patent.

                     Defendants’ Misappropriation of APT’s Trade Secrets

        46.     Stoddard worked for McKinsey as a business analyst from August 2013 to April

 2016. McKinsey is a management consulting firm. APT and McKinsey agreed to partner on

 mutual customer relationships and in connection with APT’s and McKinsey’s client

 development and client service activities, and agreed to share certain information, subject to

 strict confidentiality, to pursue such mutual efforts as identified by personnel of both APT and

 McKinsey.

        47.     Pursuant to the Confidentiality Agreement between McKinsey and APT,

 McKinsey agreed to keep confidential and not to disclose APT’s confidential information other

 than to its employees with a need to know such information and who were bound by

 nondisclosure obligations consistent with the terms of the Confidentiality Agreement. Stoddard,

 as an employee of McKinsey, was subject to the Confidentiality Agreement and the obligations

 to which McKinsey agreed to preserve APT’s confidential information. Further, based on the

 terms of the Confidentiality Agreement, APT understands that Stoddard signed a nondisclosure

 agreement with McKinsey prohibiting the improper use and disclosure of APT’s confidential

 information. McKinsey confirmed in January 2017 that it had advised Stoddard of his

 continuing obligation to maintain the confidentiality of APT’s confidential information and trade

 secrets pursuant to the Confidentiality Agreement.

        48.     While working for McKinsey, Stoddard worked closely with APT for at least a

 five-month period in 2015. During this time period, Stoddard requested and obtained large

 amounts of APT’s confidential and trade secret information pursuant to the Confidentiality

 Agreement. This included PowerPoint presentations and case studies provided to Stoddard by


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 APT, including an overview and technical details of APT’s Test & Learn® software, as well as

 identification of APT’s confidential clients. The PowerPoint presentations and case studies

 reflect years of research and thousands of dollars of personnel time to identify and determine the

 trade secret methodologies and processes underlying APT’s Test & Learn® software system.

        49.     Unbeknownst to APT, despite Stoddard continuing to work at McKinsey, in

 February 2015, before Stoddard obtained trade secrets from APT, Stoddard co-founded, with

 Davis, MarketDial, a Delaware corporation intending to compete with APT in the predictive

 software business for retailers. MarketDial registered as a foreign corporation in Utah on April

 2, 2015.

        50.     MarketDial specifically holds Davis and Stoddard out to be co-founders of

 MarketDial. See https://beehivestartups.com/marketdial-allows-you-to-test-before-you-act-

 21cdc48acd74 (stating that co-founder Morgan Davis “and cofounder Johnny Stoddard, who also

 worked for years as a consultant, created an easy-to-use platform”). Stoddard’s LinkedIn page

 (available at https://www.linkedin.com/in/johnny-stoddard-1382bb34) and Facebook page

 (available at https://www.facebook.com/johnny.stoddard) also list Stoddard as being the “Chief

 Data Scientist / Co-Founder” of MarketDial.

        51.     On its website, MarketDial advertises that the MarketDial Accused System was

 “[b]uilt by ex-McKinsey and -BCG consultants.” See https://marketdial.com/features/.

        52.     Davis, the CEO of MarketDial, previously worked for the Boston Consulting

 Group (“BCG”) as an Associate from 2012 - 2014. BCG, a business consulting group, also had a

 prior relationship with APT, which involved the use of APT’s proprietary software for a mutual

 client, Einstein Noah Restaurant Group (“ENRG”). BCG and APT entered into a Third Party

 Access Agreement dated January 26, 2012 regarding BCG’s use of APT’s proprietary software




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 (“Access Agreement”) in the course of providing professional services to the ENRG. Pursuant

 to the Access Agreement, BCG agreed to maintain the highest standards of confidentiality with

 regard to APT’s software and to protect the software from unauthorized disclosure. BCG also

 agreed to use the software only to support ENRG and that no BCG representative provided

 access to the software would be involved in developing a service that competes, directly or

 indirectly, with APT’s software.

        53.     Upon information and belief, Davis was a member of a BCG team that had access

 to APT’s software.

        54.     Shortly after MarketDial’s founding in February 2015 and through July 2015,

 Stoddard interacted regularly with APT in the course of his duties at McKinsey. However,

 Stoddard intentionally hid from APT that he was a co-founder of a competing company or that

 he was planning to pursue a competing business for his own personal benefit. Stoddard

 repeatedly requested and acquired confidential and trade secret APT information during this

 time, under the guise of benefiting the McKinsey and APT relationship. As noted above, this

 APT trade secret information included PowerPoint presentations and case studies provided to

 Stoddard by APT, including an overview and technical details of APT’s proprietary software, as

 well as identification of APT’s clients, that could be used by MarketDial.

        55.     For example, in February 2015, Stoddard requested and received from APT a

 PowerPoint presentation including details about APT’s Test & Learn® process, including its

 application to the financial services industry and an identification of the key elements of this

 process with corresponding illustrations. This PowerPoint presentation also included several

 pictures that disclosed confidential portions of the user interface architecture of the APT

 software.




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        56.     APT sent Stoddard a similarly detailed confidential PowerPoint presentation in

 June 2015 that included trade secret information about APT’s Test & Learn® software and

 process, the confidential user interfaces, and applications to potential clients.

        57.     Further, APT sent Stoddard a case study containing APT confidential information

 in April 2015, under explicit instructions that the case study was being sent under a non-

 disclosure agreement between APT and McKinsey and that Stoddard should keep the distribution

 limited.

        58.     In June 2015, Stoddard further requested that APT send him another case study

 containing APT trade secret information, acknowledging the obligations of McKinsey and its

 employees under the Confidentiality Agreement and representing that confidential information

 would only be shared internally within McKinsey.

        59.     Stoddard duped APT into providing him APT’s confidential, trade secret

 information and concealed his plans to develop a competing software product through

 MarketDial. In providing the requested information to Stoddard, APT detrimentally relied on

 Stoddard’s misrepresentation that he requested this information for the benefit of McKinsey’s

 client development work, which would ultimately benefit APT. Despite obtaining APT’s trade

 secrets in connection with client development work intended to benefit APT and McKinsey,

 Stoddard never provided APT any evidence that he actually used such information for work for

 McKinsey and APT, rather than simply acquiring APT’s trade secrets for his own benefit.

                  APT’s Reasonable Measures to Maintain the Confidentiality
                              of Its Trade Secret Information

        60.     At all times, APT has taken reasonable and appropriate measures to maintain the

 confidentiality of and to protect its proprietary information.




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         61.     APT requires its employees to enter into non-disclosure and confidentiality

 agreements to protect its confidential information and trade secrets.

         62.     As part of its policies, APT requires that employees properly label information to

 ensure the confidentiality of its proprietary information.

         63.     APT keeps its proprietary information on secure servers, protected by access

 controls, and requires encryption for proprietary information on employees’ computers. Certain

 key employees are also required to have an additional layer of security on their laptops to ensure

 protection of APT’s proprietary information and trade secrets.

         64.     APT has restricted access to visitors and third parties at its offices and facilities.

         65.     APT requires that hard copies of proprietary information be stored in locked

 cabinets or safes and that those hard copies are shredded when no longer needed.

         66.     APT does not permit its employees to use storage devices that are not APT-

 approved storage devices.

         67.     APT also provides training to its employees on the proper handling of APT

 proprietary and trade secret information.

         68.     APT also enters into non-disclosure agreements with clients, partners, vendors,

 suppliers, and consultants to the extent that APT shares its confidential information or trade

 secrets with third parties.

         69.     Specifically, APT entered into the Confidentiality Agreement with McKinsey.

 APT also marked documents that it provided to McKinsey employees with the designation:

 “APT Confidential Information - Distribution by receiving party is prohibited,” or similar

 designation.




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        70.     APT’s Confidentiality Agreement with McKinsey also required that McKinsey’s

 employees be subject to confidentiality obligations to maintain McKinsey information

 confidential, including all APT confidential information provided to McKinsey personnel.

        71.     APT’s customers all agree to maintain the confidentiality of APT’s software

 systems, and individual users of the software must, before being permitted to use the APT

 software systems, agree to an end user’s license agreement to maintain the confidentiality of the

 trade secret software systems as a condition to using APT’s software systems.

                          Defendants’ Improper and Deceitful Conduct

        72.     Prior to and after MarketDial’s founding in February 2015, Stoddard had access

 to and did access APT’s confidential information and trade secrets in the course of his

 employment at McKinsey as part of a joint project with APT. Stoddard deceived APT into

 believing that Stoddard needed access to APT’s confidential information for legitimate business

 purposes for APT’s benefit and that APT’s information would be protected by the

 Confidentiality Agreement.

        73.     Stoddard acquired substantial knowledge of APT’s confidential information and

 trade secrets through his deceitful conduct. On information and belief, Stoddard co-founded

 MarketDial in February 2015 to compete with APT. MarketDial currently offers similar

 products and services to those offered by APT, including MarketDial’s Accused System.

        74.     Since MarketDial’s founding in February 2015 and prior to Stoddard’s departure

 from McKinsey in April 2016, he repeatedly requested and received confidential APT

 information under the guise that it was for the benefit of McKinsey’s work with APT. This

 confidential APT information included PowerPoint presentations and case studies shared by APT

 with Stoddard, including an overview and technical details of APT’s proprietary software, as

 well as identification of APT’s clients.


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        75.     As Co-Founder and Chief Data Scientist of MarketDial, it is inevitable that

 Stoddard intentionally and/or inherently disclosed APT’s confidential information and trade

 secrets that he obtained while at McKinsey to MarketDial, for the benefit of MarketDial and

 Stoddard, and to the detriment of APT.

        76.     Upon information and belief, MarketDial and Stoddard have incorporated APT’s

 confidential information and trade secrets into MarketDial’s products and services, including the

 Accused System. For example, on information and belief, MarketDial’s Accused System

 performs business initiative tests that are very similar to tests performed by APT’s products and

 services and, based upon the appearance and functionality of MarketDial’s Accused System, it

 could not have been developed within the time and with the modest investment of resources

 devoted by MarketDial to developing the Accused System, without the use of APT trade secrets.

 On information and belief, MarketDial has designed and modified its Accused System so as to be

 substantially similar—if not virtually identical, in certain aspects—to APT’s products and

 services. These modifications include functionalities relating to the creation of a business

 initiative test; the confidence value and the selection of the number of business locations in

 which to test the business initiative; the selection and analysis of store attribute data; and the

 analysis and display of the actual and predicted results of a business initiative test, all of which

 appear to have been obtained from APT’s trade secrets and which could not have been developed

 within the time frame and/or resources devoted by MarketDial unless it used APT’s trade secrets.

        77.     These actions constitute trade secret misappropriation in violation of state and

 federal law, including the Defend Trade Secrets Act (18 U.S.C. § 1836, et seq.) and the Utah

 Uniform Trade Secrets Act (Utah Code Ann. § 13-24-1, et seq.).




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        78.     On information and belief, APT has lost customers and business opportunities to

 MarketDial because MarketDial has been able to unfairly compete with APT on, inter alia,

 pricing as a result of Stoddard’s and MarketDial’s misappropriation of APT’s trade secrets. In

 addition, upon information and belief, MarketDial has misrepresented that it solely developed the

 Accused System, and denied that it ever had access to APT’s trade secrets or used APT’s

 patented technology.

        79.     From the outset of first offering the Accused System in the marketplace,

 MarketDial has expressly sought to directly compete with APT by contacting its customers and

 comparing the MarketDial Accused System to APT’s systems.

        80.     If MarketDial’s and Stoddard’s willful misappropriation were not enough,

 MarketDial has engaged in a smear campaign to damage APT in the marketplace through false

 statements to APT’s customers and potential customers, including that APT is “past its prime”

 and falsely asserting that APT’s customers are frustrated with the cost and complexity of the

 APT solution. MarketDial’s marketing materials also mischaracterize APT’s solution in

 asserting that MarketDial’s product is purportedly better than APT’s.

        81.     MarketDial’s and Stoddard’s actions have caused and will cause significant

 financial harm to APT, including loss of customers. MarketDial’s and Stoddard’s actions also

 will cause APT to lose the benefit of its trade secrets and the legitimate competitive advantage

 that APT has earned though its substantial investments in such trade secrets. MarketDial’s and

 Stoddard’s actions also jeopardize APT’s relationships with its customers, prospective

 customers, suppliers, partners, employees, shareholders and investors, and other third parties and

 violate APT’s intellectual property rights.




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                        MarketDial’s Use of APT’s Patented Technology

        82.     MarketDial has made, used, offered to sell, and/or sold and continues to make,

 use, sell, and/or offer to sell the Accused System within the United States.

        83.     MarketDial has infringed the ’916 Patent through the manufacture, use, sale

 and/or offer for sale of the Accused System.

        84.     MarketDial’s Accused System is described, inter alia, on the MarketDial website,

 available at marketdial.com.




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        85.     The functionality incorporated into MarketDial’s Accused System is not yet fully

 available to APT as APT does not have access to MarketDial’s source code. APT believes that

 MarketDial infringes at least Claim 1 of its ’916 Patent based on its investigation of the minimal

 publicly-available literature that MarketDial makes available as well as an analysis of the



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 problem that MarketDial’s Accused System purports to solve, as set forth in Count III below.

 APT expects to have further support for its infringement allegations upon inspection of the

 source code of MarketDial’s Accused System and after a reasonable opportunity for further

 investigation and discovery.

          86.   On December 18, 2017, APT sent a letter to MarketDial asking that it review

 APT’s ’916 Patent and requesting that the parties engage in a meaningful discussion concerning

 MarketDial’s methodology used in the Accused System and the scope of APT’s ’916 Patent.

 MarketDial refused APT’s request.

                                              COUNT I

             Misappropriation of Trade Secrets Under Defend Trade Secrets Act
            Against Defendants MarketDial and Stoddard (18 U.S.C. § 1836, et seq.)

          87.   APT repeats, re-alleges, and incorporates by reference the prior allegations of this

 Complaint as if fully set forth herein.

          88.   APT owns and possesses confidential and trade secret information, as alleged

 above.

          89.   APT’s confidential and trade secret information relates to products and services

 used, sold, and ordered in, or intended to be used, sold, and/or ordered in, interstate and foreign

 commerce. Specifically, APT’s confidential and trade secret information concerning its business

 analytics software, including its Test & Learn® software, is used by customers throughout the

 United States and many other countries around the world. APT’s trade secret information is in

 addition to and distinct from the disclosures in its patents and includes specific information not

 available to the public that would provide a competitor with an unfair economic advantage,

 including, without limitation, the following:




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      a.    APT has incorporated its trade secrets into all of its software offerings, including

            but not limited to its Test & Learn® software, which uses such trade secrets to

            improve the value and performance of the software;

      b.    APT’s Test & Learn® software uses trade secrets to allow rapid measurement of

            incremental impact of business initiatives, including optimal selection of specific

            criteria to improve test results;

      c.    APT’s Test & Learn® software uses patented methods and systems for

            determining optimal parameter settings for business initiative testing used for

            testing initiatives for business locations included in a business network, which are

            enhanced by trade secrets beyond the patented methods that isolate the cause-and-

            effect impact of each marketing initiative;

      d.    APT’s trade secrets provide confidential methods that determine specific

            characteristics that are used to select a set of test locations or markets that will

            enhance the accuracy of testing, which characteristics were identified and selected

            by APT based upon many years of trial and error and software engineering

            utilizing the results of such trial and error;

      e.    APT has developed trade secrets that are used in its software to identify specific

            criteria to be assessed to reduce inaccuracies in the testing of business initiatives;

      f.    APT uses the trade secrets in its software to analyze test results and build out

            models that recommend the markets/sites where particular business programs will

            have the best impact;

      g.    APT’s trade secrets include techniques to refine test measurement at a customer

            level;




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        h.      APT utilizes dashboards that display test results to customers in a confidential

                format;

        i.      APT utilizes a set of particular confidential user interfaces (UIs) and architecture

                that provide simplified reporting of results for customers; these easy-to-use

                interfaces provide more effective reporting of test results to customers that can be

                used by customers to more effectively use the trade secrets incorporated into

                APT’s software to assist customers in analyzing business initiative test results,

                and to make more effective and profitable business decisions;

        j.      APT utilizes trade secrets incorporated into its software to guide clients on the

                number of sites that should be used to help design tests that are significant and

                predictive of rollout performance;

        k.      APT software incorporates trade secrets that automatically generate a set of key

                outputs and keeps them up-to-date during the test; a customer using the APT

                software can then use these APT trade secrets, including a set of APT’s

                confidential UIs, to easily add outputs to the analysis or turn the results into a

                presentation;

        l.      APT has developed trade secrets that include confidential business strategies and

                testing methods unique to certain clients or certain industries.

        90.     APT’s trade secrets, including those detailed in paragraph 89 above, are separate

 from, in addition to, and distinct from the claims and disclosures of the ’916 Patent, which is

 directed primarily at methods and systems for determining optimal system parameter settings for

 business initiative testing software. The trade secrets, on the other hand, involve specific

 confidential applications, techniques and business methods that APT has developed through




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 company innovations and trial and error, including improved testing applications and procedures,

 specific criteria for designing and managing testing, reporting protocols to assist customers, and

 development of specific industry strategies and other business practices, all of which are

 confidential and not disclosed in APT’s patent.

        91.      APT has taken reasonable measures to keep such information secret and

 confidential by, among other steps, limiting access to such information, requiring employees to

 attend training on the protection of APT’s confidential and trade secret information, and

 requiring employees to abide by confidentiality agreements and observe APT’s policy on

 protecting APT’s proprietary and confidential information, as further detailed in paragraphs 60

 through 71.

        92.      APT’s proprietary and confidential information derives independent economic

 value from not being generally known to and not being readily ascertainable through proper

 means by another person who could obtain economic value from the disclosure or use of the

 information. The independent economic value of APT’s trade secrets is demonstrated by, among

 other things:

        a.       APT has invested tens of millions of dollars in the development of its trade

                 secrets, including the Test & Learn® software system;

        b.       the monetary investment that APT has made in the development of client specific

                 strategies that incorporate APT’s software;

        c.       APT has spent 19 years developing and refining its software, client strategies, and

                 other trade secrets;




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        d.      APT has achieved substantial business success using its trade secrets over the past

                19 years, the value of which was demonstrated by the acquisition of APT in 2015

                by MasterCard for a total of $600 million;

        e.      Competitors such as MarketDial would benefit enormously from access to APT’s

                trade secrets because (i) APT is a global leader in the business analytics software

                industry, (ii) competitors using APT’s trade secrets could develop competing

                software products without spending multiple years and millions of dollars of

                investment that APT had to devote to the development of these products; (iii)

                competitors could develop features similar to those features in APT’s software

                that would not be possible without access to APT’s trade secrets; and

        f.      MarketDial has acknowledged the value of APT’s trade secrets by specifically

                directing its market pitches to features of APT’s software offerings that it learned

                from misappropriating APT’s trade secrets.

        93.     In violation of APT’s rights, Defendants Stoddard and MarketDial have willfully

 misappropriated APT’s trade secrets. Stoddard deliberately deceived APT into providing its

 trade secret information to Stoddard under the guise that the information was for the benefit of

 the McKinsey and APT relationship, and instead formed MarketDial to use APT’s trade secret

 information for his own benefit. The trade secrets that MarketDial and Stoddard misappropriated

 from APT include those listed in paragraph 89 of this First Amended Complaint, that were

 included in PowerPoint presentations and case studies shared by APT with Stoddard, including

 an overview and technical details of APT’s proprietary software, and its confidential business

 strategies unique to certain clients. For example, in February 2015, Stoddard requested and

 received from APT a PowerPoint presentation including details about APT’s Test & Learn®




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 process, including its application to the financial services industry and an identification of the

 key elements of this process with corresponding illustrations. This PowerPoint presentation also

 included several pictures of APT’s confidential user interface of its software. APT’s software

 products, including its user interface, are not available to the public, but are provided to

 customers who are subject to confidentiality obligations. In June 2015, Stoddard also obtained

 from APT a similarly detailed PowerPoint presentation that included trade secret information

 about APT’s Test & Learn® software and process, the confidential user interface, and its

 applications to potential clients.

         94.     Upon information and belief, Stoddard solicited and collected APT’s trade secret

 information, and used MarketDial as part of a scheme to misappropriate such trade secrets to get

 MarketDial up and running to develop software products to compete with APT and steal its

 business. Further, upon information and belief, Stoddard and MarketDial have used and

 continue to use APT’s trade secret information, knowing that it was misappropriated and

 obtained through deceitful means. At a minimum, Stoddard and MarketDial could not have

 reasonably compartmentalized trade secret information learned from APT and thus inevitably

 would have used such information in developing their own competing products. Such

 misappropriation permitted MarketDial and Stoddard to develop their competing products, and to

 do so in substantially shorter time and with substantially less investment than could have been

 accomplished without misappropriation of such trade secrets.

         95.     On information and belief, Stoddard is still in possession of APT’s trade secret

 information and is able to access and use this information. Further, on information and belief,

 given Stoddard’s position as the Chief Data Scientist and Co-Founder of MarketDial, it is

 inevitable that Stoddard has shared and will continue to share APT’s trade secret information




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 with MarketDial, a direct competitor of APT, or fellow MarketDial employees, who may use or

 are using this information to APT’s detriment. MarketDial admits on its own website that the

 MarketDial Accused System was “[b]uilt by ex-McKinsey and -BCG consultants.” By virtue of

 Stoddard’s position as the Chief Data Scientist and his intimate knowledge of APT’s software

 functionality and business strategies to which Stoddard was repeatedly exposed through his

 employment with McKinsey, Stoddard intentionally and/or inevitably relied on and used his

 knowledge of APT’s software solution and trade secrets in his development of MarketDial’s

 software.

         96.     Stoddard’s and MarketDial’s misappropriation of APT’s trade secret information

 has been intentional, knowing, willful, malicious, fraudulent, and oppressive.

         97.     If Stoddard’s and MarketDial’s conduct is not remedied, they will continue to

 misappropriate, disclose, and use APT’s trade secret information for their own benefit and to

 APT’s detriment.

         98.     Because APT’s remedy at law is inadequate, APT seeks, in addition to damages,

 permanent injunctive relief to recover and protect its trade secrets and other legitimate business

 interests.

         99.     As the direct and proximate result of Stoddard’s and MarketDial’s conduct, APT

 has suffered and will continue to suffer irreparable injury and significant damages, in an amount

 to be proven at trial.

         100.    APT has been damaged by all of the foregoing, and is also entitled to an award of

 exemplary damages and attorneys’ fees.




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                                             COUNT II

        Misappropriation of Trade Secrets Under Utah Uniform Trade Secrets Act
      Against Defendants MarketDial and Stoddard (Utah Code Ann. § 13-24-1, et seq.)

          101.   APT repeats, re-alleges, and incorporates by reference the prior allegations of this

 Complaint as if fully set forth herein.

          102.   APT owns and possesses confidential and trade secret information, as alleged

 above.

          103.   APT has taken reasonable measures to keep such information secret and

 confidential by, among other steps, limiting access to such information, requiring employees to

 attend training on the protection of APT’s confidential and trade secret information, and

 requiring employees to abide by confidentiality agreements and observe APT’s policy on

 protecting APT’s proprietary and confidential information.

          104.   APT’s proprietary and confidential information derives independent economic

 value from not being generally known to, and not being readily ascertainable through proper

 means by another person who could obtain economic value from the disclosure or use of the

 information.

          105.   In violation of APT’s rights, Defendants Stoddard and MarketDial willfully

 misappropriated APT’s trade secrets. Stoddard deliberately deceived APT into providing its

 trade secret information to Stoddard under the guise that the information was for the benefit of

 the McKinsey and APT relationship. This trade secret information includes PowerPoint

 presentations and case studies shared by APT with Stoddard, including an overview and

 technical details of APT’s proprietary software, and its confidential business strategies unique to

 certain clients. For example, in February 2015, Stoddard requested and acquired from APT a

 PowerPoint presentation including details about APT’s Test & Learn® process, including its



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 application to the financial services industry and an identification of the key elements of this

 process with corresponding illustrations. This PowerPoint presentation also included several

 pictures of APT’s confidential user interface. In June 2015, Stoddard also obtained from APT a

 similarly detailed PowerPoint presentation that included trade secret information about APT’s

 Test & Learn® software and process, the confidential user interface, and its applications to

 potential clients.

         106.    Upon information and belief, Stoddard solicited and collected APT’s trade secret

 information and used MarketDial as part of a scheme to misappropriate such trade secrets to get

 MarketDial up and running to develop software products to compete with APT and steal its

 business. Further, upon information and belief, Stoddard and MarketDial have in fact used

 APT’s information, knowing that it was misappropriated and obtained through deceitful means.

 At a minimum, Stoddard and MarketDial could not have reasonably compartmentalized trade

 secret information learned from APT and thus inevitably would have used such information in

 developing their own competing products. Such misappropriation permitted MarketDial and

 Stoddard to develop their competing products, and to do so in substantially shorter time and with

 substantially less investment than could have been accomplished without misappropriation of

 such trade secrets.

         107.    On information and belief, Stoddard is still in possession of APT’s trade secret

 information and is able to access and use this information. Further, on information and belief,

 given Stoddard’s position as the Chief Data Scientist and Co-Founder of MarketDial, it is

 inevitable that Stoddard has shared and will continue to share APT’s trade secret information

 with MarketDial, a direct competitor of APT, or fellow MarketDial employees, who may use or

 are using this information to APT’s detriment. By virtue of Stoddard’s position as the Chief




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 Data Scientist and his intimate knowledge of APT’s software functionality and business

 strategies that Stoddard was repeatedly exposed to through his employment with McKinsey,

 Stoddard intentionally and/or inevitably relied on and used his knowledge of APT’s software

 solution and trade secrets in his development of MarketDial’s software.

         108.    Stoddard’s and MarketDial’s misappropriation of APT’s trade secret information

 has been intentional, knowing, willful, malicious, fraudulent, and oppressive.

         109.    If Stoddard’s and MarketDial’s conduct is not remedied, they will continue to

 misappropriate, disclose, and use APT’s trade secret information for their own benefit and to

 APT’s detriment.

         110.    Because APT’s remedy at law is inadequate, APT seeks, in addition to damages,

 permanent injunctive relief to recover and protect its trade secrets and other legitimate business

 interests.

         111.    As the direct and proximate result of Stoddard’s and MarketDial’s conduct, APT

 has suffered and will continue to suffer irreparable injury and significant damages, in an amount

 to be proven at trial.

         112.    APT has been damaged by all of the foregoing, and is also entitled to an award of

 exemplary damages and attorneys’ fees.

                                             COUNT III

       Patent Infringement of U.S. Patent No. 8,571,916 Against Defendant MarketDial

         113.     APT repeats, re-alleges, and incorporates by reference the prior allegations of this

 Complaint as if fully set forth herein.

         114.    MarketDial directly infringes at least claim 1 of the ’916 Patent both literally and

 under the doctrine of equivalents.




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        115.    The Accused System, as made, used, sold, and/or offered for sale, performs a

 method for determining optimal parameter settings for business initiative testing software used

 for testing initiatives for business locations included in a business network.

        116.    The Accused System, as made, used, sold, and/or offered for sale, performs each

 of the limitations of claim 1 of the ’916 Patent.

        117.    Claim 1 of the ’916 Patent recites:

                A method for determining optimal parameter settings for business initiative
                testing software used for testing initiatives for business locations included in a
                business network, comprising:
                        identifying, by a computer, a business initiative testing model having a set
                                of parameter settings;
                        selecting a first parameter setting set for performing a virtual test, the first
                                parameter setting set including a set of selected parameter setting
                                options each respectively corresponding to one of the parameter
                                settings for the business initiative testing model;
                        performing, by a computer, the virtual test on a set of virtual test sites,
                                each virtual test site reflecting a selected business location in the
                                business network, wherein each virtual test is a simulated business
                                initiative test performed on test sites where no actual initiative test
                                has been implemented at those test sites, and wherein the virtual
                                test is performed on the virtual test sites using a variation of each
                                parameter setting;
                        determining, by a computer, actual performance data associated with the
                                set of virtual test sites;
                        determining, by a computer, actual performance data associated with a set
                                of control group sites reflecting second selected business locations
                                in the business network using the tested parameter settings;
                        determining a noise value for the first parameter setting set, the noise
                                value reflecting an inconsistency between performance data
                                associated, with the set of virtual test sites and performance data
                                associated with the set of control group sites reflecting second
                                selected business locations in the business network using the tested
                                parameter settings;
                        determining, by a computer, a set of optimal parameter settings for the
                                business initiative testing model based on results from the virtual
                                test whereby the optimal parameter settings best minimize noise
                                from the results; and
                        configuring, by a computer, the business initiative testing model using the
                                optimal parameter settings to test a business initiative for
                                application in the business network.



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        118.    On information and belief, the Accused System practices all of the elements of

 Claim 1 of the ’916 Patent. The Accused System practices a method for determining optimal

 parameter settings for business initiative testing software used for testing initiatives for business

 locations included in a business network. The Accused System identifies, by a computer, a

 business initiative testing model having a set of parameter settings. On information and belief,

 these parameter settings include, but are not limited to, parameters affecting the Accused

 System’s use of outlier performance data obtained during a business initiative test and

 parameters affecting the amount of historical performance data analyzed by the Accused System.

 The business initiative testing model is described, inter alia, on the MarketDial website,

 available at marketdial.com. See, e.g.,




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         119.    On information and belief, the Accused System selects a first parameter setting

 set for performing a virtual test, the first parameter setting set including a set of selected

 parameter setting options each respectively corresponding to one of the parameter settings for the

 business initiative testing model. On information and belief, these parameter setting options



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 include, but are not limited to, the setting options relating to parameters affecting the Accused

 System’s use of outlier performance data obtained during a business initiative test and

 parameters affecting the amount of historical performance data analyzed by the Accused System.

 On information and belief, the parameter setting affecting the Accused System’s use of outlier

 performance data obtained during a business initiative test includes a set of parameter setting

 options including, but not limited to, parameter setting options to (a) consider the outlier

 performance data as-is; (b) disregard the outlier performance data; and (c) weigh the outlier

 performance data. On information and belief, the parameter setting affecting the amount of

 historical performance data analyzed by the Accused System includes a set of parameter setting

 options including, but not limited to, parameter setting options for the Accused System to (a) use

 four years-worth of historical performance data; (b) use two years-worth of historical

 performance data; and (c) use less than two years-worth of historical performance data.

        120.    On information and belief, the first parameter setting set is selected to perform a

 virtual test. First, if the Accused System includes a set of parameter setting options for both

 parameters affecting the Accused System’s use of outlier performance data obtained during a

 business initiative test and parameters affecting the amount of historical performance data

 analyzed by the Accused System, the Accused System selects one of the respective options for

 each parameter. On information and belief, both the parameter setting affecting the Accused

 System’s use of outlier performance data obtained during a business initiative test and the

 parameter setting affecting the amount of historical performance data analyzed by the Accused

 System can be set by the Accused System to any one of the respective parameter setting options

 within the respective set of parameter setting options.




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         121.    Second, by selecting one of the respective options for each parameter, on

 information and belief the Accused System selects the optimal parameter setting options by

 performing a virtual test on at least some parameter setting options and determining which

 selected parameter setting options best optimizes the business initiative test. On information and

 belief, the Accused System selects the parameter setting options within a respective set of

 parameter setting options for either or each of the parameter setting affecting the Accused

 System’s use of outlier performance data obtained during a business initiative test and the

 parameter setting affecting the amount of historical performance data analyzed by the Accused

 System so as to optimize a given business initiative test. The Accused System does this, on

 information and belief, by performing a virtual test on at least some parameter setting options

 and determining which selected parameter setting options best optimizes the business initiative

 test. The precise manner in which the Accused System selects the parameter setting options

 within a respective set of parameter setting options will be shown by discovery, source code

 review, and examination and evaluation of the Accused System.

         122.    On information and belief, the Accused System performs, by a computer, the

 virtual test on a set of virtual test sites, each virtual test site reflecting a selected business location

 in the business network, wherein each virtual test is a simulated business initiative test performed

 on test sites where no actual initiative test has been implemented at those test sites, and wherein

 the virtual test is performed on the virtual test sites using a variation of each parameter setting.

 On information and belief, each such virtual test performed by the Accused System is performed

 using the actual performance data of test sites in the period prior to the implementation of the

 initiative test. Thus, on information and belief, the simulated business initiative test is performed

 on test sites where no actual initiative test has yet been implemented. On information and belief,




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 each such virtual test is performed on the virtual test sites using one of the parameter setting

 options within the respective set of parameter setting options for each or either of the parameter

 setting affecting the Accused System’s use of outlier performance data obtained during a

 business initiative test and the parameter setting affecting the amount of historical performance

 data analyzed by the Accused System. The virtual test is thereby performed on the virtual test

 sites using a variation of each parameter setting. These variations of parameter settings include,

 but are not limited to, the setting options relating to parameters affecting the Accused System’s

 use of outlier performance data obtained during a business initiative test and parameters affecting

 the amount of historical performance data analyzed by the Accused System.

          123.   On information and belief, the Accused System determines, by a computer, actual

 performance data associated with the set of virtual test sites. On information and belief, the

 Accused System obtains at least two years-worth of historical sales data for the virtual test sites

 from the pre-period, prior to any implementation of the business initiative. The Accused System

 uses actual data provided by its customers. See, e.g., https://marketdial.com/features. On

 information and belief, the data uploaded by the customer is associated with a set of virtual test

 sites.




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        124.    On information and belief, the Accused System determines, by a computer, actual

 performance data associated with a set of control group sites reflecting second selected business

 locations in the business network using the tested parameter settings. On information and belief,

 the Accused System obtains at least two years-worth of historical sales data for the control group

 sites from the pre-period, prior to any implementation of the business initiative. The Accused

 System uses actual data provided by its customers. See, e.g., https://marketdial.com/features.

 On information and belief, the data uploaded by the customer is associated with a set of control

 group sites.

        125.    On information and belief, the Accused System determines a noise value for the

 first parameter setting set, the noise value reflecting an inconsistency between performance data

 associated with the set of virtual test sites and performance data associated with the set of control

 group sites reflecting second selected business locations in the business network using the tested

 parameter settings. On information and belief, the Accused System uses a virtual test to

 determine the optimal system parameters, comparing the performance data associated with the

 set of virtual test sites with the performance data associated with the set of control group sites,



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 thereby determining a noise value associated with each parameter setting set. The precise

 manner in which the Accused System determines a noise value will be shown by discovery,

 source code review, and examination of the Accused System.

        126.    On information and belief, the Accused System determines, by a computer, a set

 of optimal parameter settings for the business initiative testing model based on results from the

 virtual test whereby the optimal parameter settings best minimize noise from the results. On

 information and belief, the Accused System chooses the parameter setting options within a

 respective set of parameter setting options for either or each of the parameter setting affecting the

 Accused System’s use of outlier performance data obtained during a business initiative test and

 the parameter setting affecting the amount of historical performance data analyzed by the

 Accused System so as to optimize a given business initiative test. On information and belief, the

 Accused System optimizes the given business initiative test by choosing the respective parameter

 setting options such that the performance data associated with the set of virtual test sites and the

 performance data associated with the set of control group sites is best matched to each other,

 whereby the optimal parameter settings best minimize noise from the results. The precise

 manner in which the Accused System determines a set of optimal parameter settings for the

 business initiative testing model based on results from the virtual test whereby the optimal

 parameter settings best minimize noise from the results will be shown by discovery, source code

 review, and examination and evaluation of the Accused System.

        127.    On information and belief, the Accused System configures, by a computer, the

 business initiative testing model using the optimal parameter settings to test a business initiative

 for application in the business network. On information and belief, once the Accused System

 has determined the optimal parameter settings using the above method, these optimal parameter




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 settings are used to configure the business initiative testing model. See, e.g.,

 https://marketdial.com/features and https://marketdial.com.




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         128.   After adequate discovery, APT reserves the right to assert allegations of

 infringement of additional claims of the ’916 Patent.

         129.   MarketDial’s direct infringement as described above has injured and continues to

 injure APT, and APT is entitled to recover damages adequate to compensate it for such

 infringement, but in no event less than a reasonable royalty.

         130.   MarketDial has had actual notice of the ’916 Patent since at least December 18,

 2017.

         131.   MarketDial’s infringement of the ’916 Patent has been and continues to be willful

 and deliberate as MarketDial has acted in an objectively reckless manner in view of the high

 likelihood that its acts constituted infringement of the ’916 Patent and with full knowledge of




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 APT’s rights in the ’916 Patent. As discussed above, MarketDial has known of the ’916 Patent

 and its infringement of the ’916 Patent has continued nevertheless. APT is entitled to increased

 damages pursuant to 35 U.S.C. § 284 and attorneys’ fees and costs pursuant to 35 U.S.C. §285.

                                             COUNT IV

                     Unfair Competition (Utah Code Ann. § 13-5a-101 et seq.)

         132.    APT repeats, re-alleges, and incorporates by reference the prior allegations of this

 Second Amended Complaint as if fully set forth herein.

         133.    APT owns and possesses valuable intellectual property, including the ʼ916 Patent

 and trade secrets described above.

         134.    Defendants’ unlawful, unfair, and fraudulent acts described above, including

 Defendants’ trade secret misappropriation and patent infringement, have caused a material

 diminution in the value of APT’s intellectual property at an amount to be proven at trial.

         135.    As the direct and proximate result of Stoddard’s and MarketDial’s conduct, APT

 has suffered and will continue to suffer irreparable injury and significant damages, in an amount

 to be proven at trial.

         136.    By virtue of Defendants’ intentional unfair acts, APT is also entitled to costs,

 attorneys’ fees, and punitive damages.

                                          JURY DEMAND

         Plaintiff APT respectfully demands a jury trial pursuant to Fed. R. Civ. P. 38 on all issues

 so triable.

 WHEREFORE, Plaintiff APT respectfully demands judgment in its favor and against

         MarketDial and Stoddard as follows:




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      a. Declaring that MarketDial and Stoddard have misappropriated APT’s confidential

         and trade secret information pursuant to the Defend Trade Secrets Act and Utah

         Uniform Trade Secrets Act, and that the misappropriation has been willful;

      b. Declaring that MarketDial has infringed the ’916 Patent, and that the infringement

         has been willful;

      c. Awarding damages as described in each of the above claims, in favor of plaintiff APT

         and against MarketDial and Stoddard in amounts to be determined at trial;

      d. Awarding punitive damages as described above in favor of plaintiff APT and against

         MarketDial and Stoddard in amounts to be determined at trial;

      e. Enjoining MarketDial and Stoddard and their respective officers, agents, servants,

         employees and attorneys, and all other persons in active concert or participation with

         them, from using APT’s trade secret information and from selling, offering for sale,

         marketing, or using the Accused System;

      f. Enjoining MarketDial and its respective officers, agents, servants, employees,

         attorneys, and those persons in active concert or participation with MarketDial who

         receive actual notice of the order by personal service or otherwise, from selling,

         offering for sale, marketing, or using the Accused System MarketDial’s Accused

         System and any other infringement of the ’916 Patent;

      g. Awarding exemplary damages in favor of APT and against MarketDial and Stoddard

         in an amount to be determined at trial;

      h. Granting judgment that MarketDial has willfully infringed one or more claims of the

         ’916 Patent;




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      i. Awarding enhanced damages to compensate APT for MarketDial’s willful

         infringement, including damages pursuant to 35 U.S.C. § 284;

      j. Declaring this case exceptional pursuant to 35 U.S.C. § 285 and awarding reasonable

         attorneys’ fees to APT to compensate;

      k. Awarding APT pre-judgment and post-judgment interest, and its attorneys’ fees,

         costs, and other expenses incurred in this action;

      l. Granting APT such other and further relief as this Court deems just and proper.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of August, 2019, I electronically filed the foregoing

 SECOND AMENDED COMPLAINT with the Clerk of the Court using the CM/ECF filing

 system which sent notification of such filing to all counsel of record.




                                                         /s/ Brandy Sears
                                                        Brandy Sears




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